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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                                  :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                      :
         SALES PRACTICES AND                                      :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                            :
                                                                  :   Judge Patti B. Saris
-----------------------------------------------------------------x
                                                                  :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                         :
                                                                  :
Shearer v. Pfizer Inc., 1:07-cv-11428-PBS                         :
                                                                  :
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                    DECLARATION OF ANDREW G. FINKELSTEIN, ESQ.
                 IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
                      CONTINUATION OF PLAINTIFF’S DEPOSITION

         I, Andrew G. Finkelstein, deposes and states as follows:

         1.       I am a partner with the law firm of Finkelstein & Partners, LLP, and an attorney

of record for Plaintiff Linda B. Shearer.

         2.       This declaration is submitted in opposition to Defendants’ motion to compel the

continuation of Plaintiff’s deposition.

         3.       The following documents are attached hereto in opposition to Defendants’

motion:

         Exhibit A - February 23, 2009 Letter attaching copy of incident report from
                     Massachusetts State Police, including a copy of the suicide note (remainder
                     of attachments omitted)

         Exhibit B - December 5, 2007 Letter to Defendants’ counsel, attaching Plaintiff’s
                     Responses to Defendants’ First Set of Interrogatories, Plaintiff’s Rule
                     26(a)(1) Disclosures, Plaintiff’s Response to Defendants’ First Request for
                     Production of Documents and Things, and various documents, including 22
                     authorizations (attachments omitted except for authorizations)
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      Exhibit C - January 17, 2008 Letter attaching copy of records from Spaulding
                  Rehabilitation Hospital (attachments omitted)

      Exhibit D - January 24, 2008 Letter attaching copy of records from Brigham and
                  Women’s Hospital (attachments omitted)

      Exhibit E - January 31, 2008 Letter attaching copy of records from North Adams
                  Regional Hospital, Finkelstein Decl. Ex. E (attachments omitted)

      Exhibit F - January 2008 Letter attaching copy of authorization for Spaulding Rehab
                  Hospital, Finkelstein Decl., Ex. F (attachment omitted)

      Exhibit G - February 14, 2008 Letter attaching copy of records from North Adams
                  Ambulance (attachments omitted)

      Exhibit H - February 15, 2008 Letter attaching copy of records from Dr. Catapano-
                  Friedman (attachments omitted)

      I declare under penalty of perjury that the foregoing is true and correct.


Dated: October 28, 2009

                                                    /s/ Andrew G. Finkelstein
                                                    Andrew G. Finkelstein
                                                    Finkelstein & Partners, LLP
                                                    1279 Route 300, P.O. Box 1111
                                                    Newburgh, NY 12551
                                                    (800) 634-1212

                                                    Attorney for Plaintiff Linda B. Shearer


                               CERTIFICATE OF SERVICE

      I certify that this document filed through the ECF system has been served pursuant to

Case Management Order No. 3 on October 28, 2009.

Dated: October 28, 2009

                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire




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